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        FORM 1.997.        CIVIL COVER SHEET

        The civil cover sheet and the information contained in it neither replace nor supplement the filing
        and service of pleadings or other documents as required by law. This form must be filed by the
        plaintiff or petitioner with the Clerk of Court for the purpose of reporting uniform data pursuant
        to section 25.075, Florida Statutes. (See instructions for completion.)


                I.      CASE STYLE

                            IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT,
                              IN AND FOR MIAMI-DADE COUNTY, FLORIDA

        Kimberly Hudge
        Plaintiff                                                                Case #
                                                                                 Judge
        vs.
       Racetrac Petroleum, Inc.
        Defendant



                II.     AMOUNT OF CLAIM
       Please indicate the estimated amount of the claim, rounded to the nearest dollar. The estimated amount of
       the claim is requested for data collection and clerical processing purposes only. The amount of the claim
       shall not be used for any other purpose.

        ☐ $8,000 or less
        ☐ $8,001 - $30,000
        ☒ $30,001- $50,000
        ☐ $50,001- $75,000
        ☐ $75,001 - $100,000
        ☐ over $100,000.00

                III.    TYPE OF CASE           (If the case fits more than one type of case, select the most
        definitive category.) If the most descriptive label is a subcategory (is indented under a broader
        category), place an x on both the main category and subcategory lines.




                                                          -1-
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   CIRCUIT CIVIL

   ☐ Condominium
   ☐ Contracts and indebtedness
   ☐ Eminent domain
   ☐ Auto negligence
   ☒ Negligence—other
         ☐ Business governance
         ☐ Business torts
         ☐ Environmental/Toxic tort
         ☐ Third party indemnification
         ☐ Construction defect
         ☐ Mass tort
         ☐ Negligent security
         ☐ Nursing home negligence
         ☒ Premises liability—commercial
         ☐ Premises liability—residential
   ☐ Products liability
   ☐   Real Property/Mortgage foreclosure
           ☐ Commercial foreclosure
           ☐ Homestead residential foreclosure
           ☐ Non-homestead residential foreclosure
           ☐ Other real property actions

   ☐Professional malpractice
         ☐ Malpractice—business
         ☐ Malpractice—medical
         ☐ Malpractice—other professional
   ☐ Other
         ☐ Antitrust/Trade regulation
         ☐ Business transactions
         ☐ Constitutional challenge—statute or ordinance
         ☐ Constitutional challenge—proposed amendment
         ☐ Corporate trusts
         ☐ Discrimination—employment or other
         ☐ Insurance claims
         ☐ Intellectual property
         ☐ Libel/Slander
         ☐ Shareholder derivative action
         ☐ Securities litigation
         ☐ Trade secrets
         ☐ Trust litigation


   COUNTY CIVIL

   ☐ Small Claims up to $8,000
   ☐ Civil
   ☐ Real property/Mortgage foreclosure
                                                     -2-
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   ☐ Replevins
   ☐ Evictions
         ☐ Residential Evictions
         ☐ Non-residential Evictions
   ☐ Other civil (non-monetary)

                                        COMPLEX BUSINESS COURT

  This action is appropriate for assignment to Complex Business Court as delineated and mandated by the
  Administrative Order. Yes ☐ No ☒

           IV.   REMEDIES SOUGHT (check all that apply):
           ☒ Monetary;
           ☐ Nonmonetary declaratory or injunctive relief;
           ☐ Punitive

           V.     NUMBER OF CAUSES OF ACTION: [ ]
           (Specify)

             1

           VI.     IS THIS CASE A CLASS ACTION LAWSUIT?
                   ☐ yes
                   ☒ no

           VII.    HAS NOTICE OF ANY KNOWN RELATED CASE BEEN FILED?
                   ☒ no
                   ☐ yes If “yes,” list all related cases by name, case number, and court.


           VIII. IS JURY TRIAL DEMANDED IN COMPLAINT?
                 ☒ yes
                 ☐ no

   I CERTIFY that the information I have provided in this cover sheet is accurate to the best of
   my knowledge and belief, and that I have read and will comply with the requirements of
   Florida Rule of Judicial Administration 2.425.

   Signature: s/ Jessica Ariel Orenstein Esq.             Fla. Bar # 127182
                   Attorney or party                                     (Bar # if attorney)

  Jessica Ariel Orenstein Esq.                             02/25/2021
   (type or print name)                            Date




                                                   -3-
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          In the Circuit Court of the 11th Judicial Circuit in and for Miami Dade County, Florida


        KIMBERLY HUDGE,                                                      CASE NO.:

               Plaintiff,
        v.

        RACETRAC PETROLEUM, INC.,


              Defendant.
        ____________________________/

                                                    COMPLAINT

               COMES NOW, Plaintiff, Kimberly Hudge (hereinafter referred to as “Plaintiff”), by and

        through the undersigned attorneys, and hereby sues the Defendant, Racetrac Petroleum, Inc.

        (hereinafter referred to as “Defendant”), and alleges:


                                         GENERAL ALLEGATIONS

               1.      This is an action for damages that exceeds the sum of THIRTY THOUSAND

        DOLLARS ($30,000.00), exclusive of costs and interest. (The estimated value of Plaintiff’s

        claim is in excess of the minimum jurisdictional threshold required by this Court). Accordingly,

        Plaintiff has entered “$30,001” in the civil cover sheet for the “estimated amount of the claim” as

        required in the preamble to the civil cover sheet for jurisdictional purposes only (the Florida

        Supreme Court has ordered that the estimated “amount of claim” be set forth in the civil cover

        sheet for data collection and clerical purposes only). The actual value of Plaintiff’s claim will be

        determined by a fair and just jury in accordance with Article 1, Section 21, Fla. Const.

               2.      At all times material hereto, Plaintiff was and is a resident of Miami-Dade

        County, Florida and was and is sui juris.




                                                         1
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          3.      At all times material hereto, the Defendant was a business registered to operate in

   the state of Florida and maintained a property for the regular transaction of its business in

   Miami-Dade County, Florida.

          4.      At all times material hereto, the Defendant was in exclusive possession, custody,

   and control of the property located at 14201 NW 57th Ave., Opa-locka, FL 33054.

          5.      At all times material hereto, the Defendant expressly assumed responsibility for

   the maintenance and cleanliness of the aforementioned premises and had a duty to maintain same

   in a reasonably safe condition for the use of business invitees and guests.

          6.      Venue is proper in this Court as the Defendant conducts its business operations

   within Miami-Dade County, Florida and the incident giving rise to this action occurred in

   Miami-Dade County, Florida.

                          FACTS GIVING RISE TO CAUSE OF ACTION

          7.      On or about January 12, 2019, Plaintiff was a lawfully present business invitee on

   the Defendant’s premises as indicated above. This premises was, at that time and continues to be,

   in the custody of, and operated by, the Defendant.

          8.      At that time and place, Plaintiff went to the drink fountain to get a tea. Plaintiff

   pushed her cup under the fountain and got some tea. Plaintiff sampled two flavors but none of

   them tasted sweet. Plaintiff asked the manager about the flavor of the tea and was informed the

   machine was being cleaned and she had just ingested disinfectant.

          9.      As a result of the food poisoning, Plaintiff sustained bodily injury, including loss

   of organ function.




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         COUNT I - PREMISES LIABILITY AS TO RACETRAC PETROLEUM, INC.

          Plaintiff hereby incorporates and re-alleges paragraphs 1 through 9 above as though they

   had been set forth herein and further states:

          10.      At all times material hereto, the Defendant by and through its employees, agents,

   and assigns, had a non-delegable duty to Plaintiff, as its business invitee, to maintain its premises

   in a reasonably safe condition, and to protect Plaintiff from dangers or defects about which the

   Defendant was or should have been aware, through the use of ordinary and reasonable care. The

   Defendant breached its duty to Plaintiff by committing one or more of the following acts or

   omissions:


          a) Negligently failing to maintain or adequately maintain drinks served to

                Plaintiff, thus creating a hazardous condition to members of the public

                utilizing Defendant’s drink fountain, including the Plaintiff herein,

                thus creating an unreasonably dangerous condition for Plaintiff;

          b) Negligently failing to develop and enforce adequate sanitation

                procedures for employees and the tools utilized to sanitize the drinking

                fountain.

          c) Negligently failing to inspect or adequately inspect the drink fountain

                used by Plaintiff, as specified above, to ascertain whether the contents

                of the drinks served constituted a hazard to patrons purchasing drinks

                from Defendant’s machine, including the Plaintiff herein, thus creating

                an unreasonably dangerous condition to the Plaintiff;

          d) Negligently failing to inspect or adequately warn the Plaintiff of the

                danger of the disinfectant and potential poisoning from the drinks


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                served to Plaintiff, when Defendant knew or through the exercise of

                reasonable care should have known that said drinks was unreasonably

                dangerous and that Plaintiff was unaware of same; and

          e) Negligently failing to correct or adequately correct the unreasonably

                dangerous condition of the drink machine on Defendant’s premises

                served to Plaintiff, when said condition was either known to Defendant

                or had existed for a sufficient length of time such that Defendant

                should have known of same had Defendant exercised reasonable care.

          f) Negligently failing to warn the Plaintiff of said dangerous condition

                when said condition was either known to Defendant or had existed for

                a sufficient length of time such that Defendant should have known of

                same had Defendant exercised reasonable care;

          g) Negligently failing to barricade, restrict, or otherwise prevent persons

                such as Plaintiff from encountering the hazardous condition on its

                premises as described above;

          h) Negligently failing to implement appropriate and reasonable safety

                protocols and procedures to prevent injury to business invitees such as

                Plaintiff;

          i) Negligently failing to enact and/or implement appropriate and

                reasonable training of its employees to prevent injury to business

                invitees such as Plaintiff;

          11.       As a direct and proximate result of the Defendant’s negligence as alleged above,

   Plaintiff suffered injury including a permanent injury to the body as a whole, including but not



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   limited to pain and suffering of both a physical and mental nature, disability, physical

   impairment, disfigurement, mental anguish, inconvenience, loss of capacity for the enjoyment of

   life, activation of a latent condition, expense of hospitalization, medical and nursing care and

   treatment, loss of earnings in the past, and loss of ability to earn money in the future. These

   losses are either permanent or continuing and Plaintiff will suffer these losses in the future.

             WHEREFORE, Plaintiff, KIMBERLY HUDGE, demands judgment in her favor against

   the Defendant, RACETRAC PETROLEUM, INC., in excess of the minimum jurisdictional

   limits of this Court for compensatory damages, including incidental and consequential damages,

   post-judgement interest, costs, attorney’s fees, and for any other relief this Court deems just and

   proper.

                                     DEMAND FOR JURY TRIAL

             Plaintiff, KIMBERLY HUDGE, demands trial by jury on all issues triable as of right by

   jury.

             Dated this 25th day of February, 2021.

                                                 By: Jessica A. Orenstein, Esq.
                                                 Florida Bar Number: 127182
                                                 MORGAN & MORGAN, P.A.
                                                 Attorneys for Plaintiff
                                                 703 Waterford Way, Suite 1050
                                                 Miami, FL 33126
                                                 Telephone: 786-598-5563
                                                 Facsimile: 786-598-5583
                                                 jorenstein@forthepeople.com
                                                 malsopp@forthepeople.com




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       # 122144783  E-Filed 02/26/2021 12:03:09 PM
  X IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT IN AND FOR MIAMI-DADE COUNTY, FLORIDA.
   IN THE COUNTY COURT IN AND FOR MIAMI-DADE COUNTY, FLORIDA.

  DIVISION                                                                                                               CASE NUMBER
                                                  SUMMONS 20 DAY CORPORATE SERVICE
  X CIVIL             OTHER
                                                         (a) GENERAL FORMS
                                                                                                                       2021-004697-CA-01
   DISTRICTS
  PLAINTIFF(S)                                               VS. DEFENDANT(S)                                                SERVICE


 Kimberly Hudge                                              Racetrac Petroleum, Inc.



  THE STATE OF FLORIDA:

  To Each Sheriff of the State:

  YOU ARE COMMANDED to serve this summons and copy of the complaint or petition in this action
  on defendant(s): Racetrac Petroleum, Inc.

 By Serving Its Registered Agent: Corporate Creations Network, Inc.
                                  11380 Prosperity Farms Road, Suite #221E

                                        Palm Beach Gardens, FL 33410
  Each defendant is required to serve written defense to the complaint or petition on
  Plaintiff’s Attorney: Jessica A. Orenstein, Esq., Morgan & Morgan, P.A.


  whose address is: 703 Waterford Way, Suite 1050, Miami, Florida 33126
                    (305) 929-1901
                     jorenstein@forthepeople.com; malsopp@forthepeople.com

  within 20 days “ Except when suit is brought pursuant to s. 768.28, Florida Statutes, if the State of Florida, one of its agencies,
  or one of its officials or employees sued in his or her official capacity is a defendant, the time to respond shall be 40 days.
  When suit is brought pursuant to. 768.28, Florida Statutes, the time to respond shall be 30 days.” after service of this summons
  on that defendant , exclusive of the day of service, and to file the original of the defenses with the Clerk of this Clerk Court either before
  service on Plaintiff’s attorney or immediately thereafter. If a defendant fails to do so, a default will be entered against that defendant for
  the relief demanded in the complaint or petition.

                                                                                                                              DATE

   HARVEY RUVIN

  CLERK of COURTS

                                                             DEPUTY CLERK

                       AMERICANS WITH DISABILITIES ACT OF 1990
                                         ADA NOTICE
  “If you are a person with a disability who needs any accommodation in order to
  participate in this proceeding, you are entitled, at no cost to you, to the provision of certain
  assistance. Please contact the Eleventh Judicial Circuit Court’s ADA Coordinator, Lawson
                                              st
  E. Thomas Courthouse Center, 175 NW 1 Ave., Suite 2702, Miami, FL 33128, Telephone
  (305) 349-7175; TDD (305) 349-7174, Fax (305) 349-7355 at least 7 days before your
  scheduled court appearance, or immediately upon receiving this notification if the time
  before the scheduled appearance is less than 7 days; if you are hearing or voice impaired,
  call 711.”
 CLK/CT. 314 Rev. 02/16                                                                             Clerk’s web address: www.miami-dadeclerk.com
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                   IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT
                       IN AND FOR MIAMI-DADE COUNTY, STATE OF FLORIDA
                                        CIVIL DIVISION

        KIMBERLY HUDGE,

             Plaintiff,

        v.                                                CASE NO.: 21-4697CA-01

        RACETRAC PETROLEUM, INC.,

           Defendant.
        _____________________________________/

                          DEFENDANT’S ANSWER AND AFFIRMATIVE DEFENSES

                 Defendant, RaceTrac Petroleum, Inc., by and through its undersigned attorney and hereby

        serves this, its Answer and Affirmative Defenses to Plaintiff’s Complaint and states as follows:

                                          GENERAL ALLEGATIONS

                 1. Admit for jurisdictional purposes only; otherwise deny.

                 2. Without knowledge.

                 3. Admit for venue purposes only.

                 4. Admit.

                 5. Deny as stated.

                 6. Without knowledge at this time.


                               FACTS GIVING RISE TO CAUSE OF ACTION

                 7. Without knowledge.

                 8. Without knowledge.

                 9. Deny.


               COUNT I – PREMISES LIABILITY AS TO RACETRAC PETROLEUM, INC.

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          10. Deny.

          11. Deny.


                                  FIRST AFFIRMATIVE DEFENSE

          Defendant states that at the time and place set forth in the Complaint, Plaintiff was guilty

   of negligence, which negligence was either the sole proximate cause of the event described in the

   Complaint, or in the alternative contributed thereto, and Plaintiff is therefore either barred from

   recovery, or in the alternative, any damages awarded Plaintiff against this Defendant should be

   reduced pursuant to the Rule of Comparative Negligence.


                                SECOND AFFIRMATIVE DEFENSE

          Defendant states that the Plaintiff has received monies from collateral sources and/or

   contractual discounts and/or adjustments, and/or write-offs, for which no right of subrogation

   exists, and Defendant is entitled to a set-off to the extent of the contractual discounts and/or to

   the extent of said funds received from collateral sources.


                                     RESERVATION OF RIGHTS

          Defendant reserves the right to seek leave to amend our Affirmative Defenses as

   discovery progresses.


                                        DEMAND FOR JURY TRIAL

          Defendant hereby demands a trial by jury on all issues so triable.




                                    CERTIFICATE OF SERVICE


                                                                                                    348393
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          I HEREBY CERTIFY that a true and accurate copy of the above and foregoing has been

   furnished by e-mail delivery to Jessica A. Orenstein, Attorney for the Plaintiff,

   (jorenstein@forthepeople.com; malsopp@forthepeople.com, Morgan and Morgan PA, 703

   Waterford Way, Suite 1050, Miami, FL, 33126) on this 16th day of April, 2021.

                                             By: /s/ Jeffrey P. Winkler
                                                 Jeffrey P. Winkler, Esquire
                                                 Banker Lopez Gassler P.A.
                                                 Service: service-jwinkler@bankerlopez.com
                                                 360 Central Ave., Suite 700
                                                 St. Petersburg, Florida 33701
                                                 Phone: (727) 825-3600
                                                 Fax: (727) 821-1968
                                                 FBN: 0358241
                                                 Attorney for the Defendant




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                      IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT
                          IN AND FOR MIAMI-DADE COUNTY, STATE OF FLORIDA
                                           CIVIL DIVISION

        KIMBERLY HUDGE,

             Plaintiff,

        v.                                                 CASE NO.: 21-4697CA-01

        RACETRAC PETROLEUM, INC.,

           Defendant.
        _____________________________________/

                                         REQUEST FOR PRODUCTION


                The Defendants, by and through the undersigned attorney, and pursuant to the Rules of
        Civil Procedure, hereby requests the Plaintiffs to produce for inspection and/or copying by
        counsel for Defendants, the following documents; said documents to be produced either by mail
        or by attendance, at the offices of BANKER LOPEZ GASSLER P.A., 360 Central Avenue, Suite
        900, St. Petersburg, Florida and said documents to be produced on or before thirty (30) days
        from receipt hereof:

               1.     Federal Income Tax Returns and W-2 Forms for the Plaintiff for the three years
        preceding the date of the incident and to the present date, or alternately, return the executed
        Request for Copy of Tax Form which is attached.

                2.       Itemized medical bills incurred by Plaintiff and all medical reports rendered by
        Plaintiff’s treating and examining physicians as a result of the subject incident.

                 3.       Any and all statements taken from Defendant or any witnesses in the above cause.

                4.      Any and all photographs concerning the subject incident, including, but not
        limited to the scene, property involved in depicting damages received.

              5.      All photographs, slides, movie films, and video tapes taken of the Plaintiff or any
        Defendant including the Plaintiff or Defendant’s property involved in this accident.

              6.    Any and all documents of whatever nature or kind which evidence any and all
        payments made to the Plaintiff on her behalf as a result of this accident.

                7.     A certified copy of any policy of insurance which might provide coverage for any
        of the damages described in the Complaint, including the declaration sheet for any such policy
        for the period which includes the date of the accident described in the Complaint.

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           8.      If any document is withheld on any claim of privilege, or otherwise, pursuant to
   current law, set forth the following:

                 a.      the basis of the privilege claim;

                 b.      the author of the document;

                 c.      the date of the document;

                 d.      the recipient or intended recipient of the document;

                 e.      a brief description of the substance of the document;

                 f.     all persons who received copies of the document or were shown copies of
   the document, along with an identification of each such person.

                                   CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and accurate copy of the above and foregoing has been
   furnished by e-mail delivery to Jessica A. Orenstein, Attorney for the Plaintiff,
   (jorenstein@forthepeople.com; malsopp@forthepeople.com, Morgan and Morgan PA, 703
   Waterford Way, Suite 1050, Miami, FL, 33126) on this 16th day of April, 2021.

                                               By: /s/ Jeffrey P. Winkler
                                                   Jeffrey P. Winkler, Esquire
                                                   Banker Lopez Gassler P.A.
                                                   Service: service-jwinkler@bankerlopez.com
                                                   360 Central Ave., Suite 700
                                                   St. Petersburg, Florida 33701
                                                   Phone: (727) 825-3600
                                                   Fax: (727) 821-1968
                                                   FBN: 0358241
                                                   Attorney for the Defendant




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                   IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT
                       IN AND FOR MIAMI-DADE COUNTY, STATE OF FLORIDA
                                        CIVIL DIVISION

        KIMBERLY HUDGE,

             Plaintiff,

        v.                                                CASE NO.: 21-4697CA-01

        RACETRAC PETROLEUM, INC.,

           Defendant.
        _____________________________________/

                               NOTICE OF SERVING INTERROGATORIES

        TO:      Kimberly Hudge

                 The Defendant, by counsel undersigned, hereby serves notice pursuant to Rule 1.340,

        Florida Rules of Civil Procedure, of service of interrogatories number 1 through 23, inclusive,

        answers to which will be due within thirty (30) days from the date of service.


                                        CERTIFICATE OF SERVICE

                I HEREBY CERTIFY that a true and accurate copy of the above and foregoing has been
        furnished by e-mail delivery to Jessica A. Orenstein, Attorney for the Plaintiff,
        (jorenstein@forthepeople.com; malsopp@forthepeople.com, Morgan and Morgan PA, 703
        Waterford Way, Suite 1050, Miami, FL, 33126) on this 16th day of April, 2021.

                                                    By: /s/ Jeffrey P. Winkler
                                                        Jeffrey P. Winkler, Esquire
                                                        Banker Lopez Gassler P.A.
                                                        Service: service-jwinkler@bankerlopez.com
                                                        360 Central Ave., Suite 700
                                                        St. Petersburg, Florida 33701
                                                        Phone: (727) 825-3600
                                                        Fax: (727) 821-1968
                                                        FBN: 0358241
                                                        Attorney for the Defendant




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                                         GENERAL NEGLIGENCE


                   1.      What is the name and address of the person answering these
   interrogatories, and if applicable, the person’s official position or relationship with the party to
   whom the interrogatories are directed?
                  NAME:


                  ADDRESS:


                  OFFICIAL POSITION:


                  2.    List the names, business addresses, dates of employment and rates of pay
   regarding all employers, including self-employment, for whom you have worked in the past ten
   years.
                                                                DATE OF                RATE
   NAME AND ADDRESS OF EMPLOYER                                 EMPLOYMENT             OF PAY




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                   3.    List all former names and when you were known by those names. State all
   addresses where you have lived for the past ten years, the dates you lived at each address, your
   social security number, your date of birth, and if you are or have ever been married, the name of
   your spouse or spouses.

   FORMER NAMES AND YEARS GOING BY SUCH NAME:




   ADDRESSES FOR PAST 10 YEARS:                                    DATES AT EACH ADDRESS:




   SOCIAL SECURITY NO.              DATE OF BIRTH                   ALL SPOUSES NAMES:



                4.       Do you wear glasses, contact lenses or hearing aids? If so, who prescribed
   them; when were they prescribed; when were your eyes or ears last examined; and what is the
   name and address of the examiner?
                                                          WHEN                   DATE OF LAST
                         WHO PRESCRIBED                   PRESCRIBED             EXAMINATION
   GLASSES           :


   CONTACT LENS:


   HEARING AID :




                                                                                               348393
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                  5.     Have you ever been convicted of a crime, other than any juvenile
   adjudication, which under the law under which you were convicted, was punishable by death or
   imprisonment in excess of one year, or that involved dishonesty or a false statement regardless of
   the punishment? If so, state as to each conviction, the special crime, the date and the place of
   conviction.
                                                DATE OF                 CITY, COUNTY and
   SPECIFIC CRIME                               CONVICTION              STATE OF CONVICTION




                    6.     Were you suffering from physical infirmity, disability, or sickness at the
   time of the incident described in the complaint? If so, what was the nature of the infirmity,
   disability, or sickness?




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                 7.     Did you consume any alcoholic beverages or take any drugs or medication
   within twelve hours before the time of the incident described in the complaint? If so, state the
   type and amount of alcoholic beverages, drugs or medication which were consumed and when
   and where you consumed them.
                       TYPE                    WHERE CONSUMED           WHEN CONSUMED
   ALCOHOL         :




   DRUGS           :




   MEDICATIONS:




                   8.      Describe in detail how the incident described in the complaint happened,
   including all actions taken by you to prevent the incident.
          How accident happened:




          Actions taken to prevent accident:




                                                                                              348393
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                  9.     Describe in detail each act or omission on the part of any party to this
   lawsuit that you contend constituted negligence that was a contributing legal cause of the
   incident in question.




                  10.     Were you charged with any violation of law (including any regulations or
   ordinances) arising out of the incident described in the complaint? If so, what was the nature of
   the charge; what plea, or answer, if any, did you enter to the charge; what court or agency heard
   the charge; was any written report prepared by anyone regarding this charge, and if so, what is
   the name and address of the person or entity that prepared the report; do you have a copy of the
   report; and was the testimony at any trial, hearing, or other proceeding on the charge recorded in
   any manner, and, if so what was the name and address of the person who recorded the
   testimony?
                                                Type plea or                  Court or agency
   Nature of charge:                            answer made                   hearing charge:




   Was testimony taken                          Name/address of person
   and recorded?                                 recording testimony




   Any written                                  Name/address of person
   report prepared:                              preparing report:




   Location(s) of report or copy of report:




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                  11.     Describe each injury for which you are claiming damages in this case,
   specifying the part of your body that was injured, the nature of the injury, and, as to any injuries
   you contend are permanent, the effects on you that you claim are permanent.
   DESCRIBE INJURY                   PART OF BODY INJURED                 NATURE OF INJURY




   DESCRIBE PERMANENT EFFECTS OF INJURY ON YOU, IF ANY.




                   12.    List each item of expense or damage, other than loss of income or earning
   capacity, that you claim to have incurred as a result of the incident described in the complaint,
   giving for each item the date incurred, the name and business address to whom each was paid or
   is owed, and the goods or services for which each was incurred.
                                 DATE
   SERVICE OR ITEM               INCURRED           AMOUNT          TO WHOM OWED OR PAID




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                   13.     Do you contend that you have lost any income, benefits, or earning
   capacity in the past or future as a result of the incident described in the complaint? If so, state the
   nature of the income, benefits, or earning capacity, and the amount and the method that you used
   in computing the amount.
   NATURE OF INCOME, BENEFITS OR                                                AMOUNT LOST
   EARNING CAPACITY LOST OR TO BE LOST                                          OR TO BE LOST




   METHOD OF CALCULATION




                   14.     Has anything been paid or is anything payable from any third party for the
   damages listed in your answers to these interrogatories. If so, state the amounts paid or payable,
   the name and business address of the person or entity who paid or owes said amounts, and which
   of those third parties have or claim a right of subrogation.
   AMOUNTS PAID OR PAYABLE
   FROM THIRD PARTIES                             NAME AND ADDRESS OF PAYOR




   IS A SUBROGATION RIGHT CLAIMED BY THIRD PARTY?




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                 15.     List the names and business addresses of each physician who has treated
   or examined you, and each medical facility where you have received any treatment or
   examination for the injuries for which you seek damages in this case; and state as to each the
   date of treatment or examination and the injury or condition for which you were examined or
   treated.
   EXAMINING/TREATING                                       AREA OF BODY
   PHYSICIAN and/or FACILITY                                EXAMINED/TREATED




   CONDITION EXAMINED & TREATED                             DATES OF EXAM/TREATMENT




                                                                                            348393
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                    16.     List the names and business addresses of all other physicians, medical
   facilities or other health care providers by whom or at which you have been examined or treated
   in the past ten years; and state as to each the dates of examination or treatment and the condition
   or injury for which you were examined or treated.
   EXAMINING/TREATING                                          AREA OF BODY
   PHYSICIAN and/or FACILITY                                   EXAMINED/TREATED




   CONDITION EXAMINED & TREATED                                DATES OF EXAM/TREATMENT




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                  17.     List the names and addresses of all persons who are believed or known by
   you, your agents or attorneys to have any knowledge concerning any of the issues in this lawsuit;
   and specify the subject matter about which the witness has knowledge.
   NAME AND ADDRESS OF PERSON                            SUBJECT MATTER OF KNOWLEDGE




                   18.     Have you heard or do you know about any statement or remark made by
   or on behalf of any party to this lawsuit, other than yourself, concerning any issue in this
   lawsuit? If so, state the name and address of each person who made the statement or statements,
   the name and address of each person who heard it and the date, time, place and substance of each
   statement.
   NAME & ADDRESS OF PERSON                            NAME & ADDRESS OF PERSON
   MAKING STATEMENT                                    HEARING STATEMENT




   CONTENT OF STATEMENT MADE OR HEARD:




   DATE AND TIME OF STATEMENT                           PLACE STATEMENT MADE




                                                                                               348393
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                  19.     State the names and addresses of every person known to you, your agents,
   or attorneys, who has knowledge about, or possession, custody or control of any model, plat,
   map drawing, motion picture video tape, or photograph pertaining to any fact or issue involved
   in this controversy; and describe as to each, what such person has, the name and address of the
   person who took or prepared it, and the date it was taken or prepared.
   NAME OF PERSON WITH KNOWLEDGE                               DESCRIPTION OF ITEM




   NAME & ADDRESS OF PERSON
   IN POSSESSION                                               DATE PREPARED




                   20.    Do you intend to call any expert witnesses at the trial of this case? If so,
   state as to each such witness the name and business address of the witness, the witness’s
   qualifications as an expert, the subject matter upon which the witness is expected to testify, the
   substance of the facts and opinions to which the witness is expected to testify, and a summary of
   the grounds for each opinion.
   NAME & ADDRESS OF EXPERT WITNESS                            QUALIFICATION OF EXPERT




   SUBJECT MATTER OF                                           SUBSTANCE OF OPINIONS
   EXPECTED TESTIMONY:                                         AND/OR TESTIMONY




   SUMMARY OF GROUNDS FOR OPINION:




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                   21.    Have you made an agreement with anyone that would limit that party’s
   liability to anyone for any of the damages sued upon in this case? If so, state the terms of the
   agreement and the parties to it.
   TERMS OF AGREEMENT                                     NAMES OF PARTIES TO AGREEMENT




                   22.     Please state if you have ever been a party, either plaintiff or defendant, in a
   lawsuit other than the present matter and if so, state whether you were plaintiff or defendant, the
   nature of the action, and the date and court in which such suit was filed.
   PLAINTIFF or DEFENDANT                                         NATURE OF ACTION




   COURT SUED IN                                                  DATE ACTION FILED


   23.     Please identify your primary care physician and internal medicine doctors and the identity
   of all ER visits for the 5 years before the incident (1/12/19) thru present.




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                                                                        Affiant

   STATE OF

   COUNTY OF



         The foregoing instrument was acknowledged before me by _______________________

   this _____ day of ___________, 20____, who is personally known to me or who has produced

   ____________________________________ as identification and who did/did not take an oath.

                                                                    NOTARY PUBLIC


                                                    Signature:

                                                    Printed Name:

                                                    My Commission Expires:




                                                                                         348393
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       # 125043386  E-Filed 04/16/2021 09:18:22 AM


                   IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT
                       IN AND FOR MIAMI-DADE COUNTY, STATE OF FLORIDA
                                        CIVIL DIVISION

        KIMBERLY HUDGE,

             Plaintiff,

        v.                                               CASE NO.: 21-4697CA-01

        RACETRAC PETROLEUM, INC.,

           Defendant.
        _____________________________________/

                                  DESIGNATION OF EMAIL ADDRESS

                Defendant, RaceTrac Petroleum, Inc., by and through undersigned counsel and pursuant
        to Florida Rule of Judicial Administration 2.516, hereby designates the following e-mail address
        for their counsel:

                              Jeffrey P. Winkler, Esquire
                              Primary e-mail: service-jwinkler@bankerlopez.com


                                       CERTIFICATE OF SERVICE

                 I HEREBY CERTIFY that a true and accurate copy of the above and foregoing has been

        furnished by e-mail delivery to Jessica A. Orenstein, Attorney for the Plaintiff,

        (jorenstein@forthepeople.com; malsopp@forthepeople.com, Morgan and Morgan PA, 703

        Waterford Way, Suite 1050, Miami, FL, 33126) on this 16th day of April, 2021.

                                                   By: /s/ Jeffrey P. Winkler
                                                       Jeffrey P. Winkler, Esquire
                                                       Banker Lopez Gassler P.A.
                                                       Service: service-jwinkler@bankerlopez.com
                                                       360 Central Ave., Suite 700
                                                       St. Petersburg, Florida 33701
                                                       Phone: (727) 825-3600
                                                       Fax: (727) 821-1968
                                                       FBN: 0358241
                                                       Attorney for the Defendant


                                                                                                   348393
FilingCase 1:21-cv-23024-RNS Document 1-2 Entered on FLSD Docket 08/19/2021 Page 40 of 62
       # 125043386  E-Filed 04/16/2021 09:18:22 AM


                   IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT
                       IN AND FOR MIAMI-DADE COUNTY, STATE OF FLORIDA
                                        CIVIL DIVISION

        KIMBERLY HUDGE,

             Plaintiff,
        v.
                                                            CASE NO.: 21-4697CA-01
        RACETRAC PETROLEUM, INC.,

           Defendant.
        _____________________________________/

                             NOTICE OF PRODUCTION FROM NON-PARTY

                YOU ARE HEREBY NOTIFIED that after ten days from the date of service of this
        notice, if service is by hand or fax delivery, or fifteen days from the date of service, if service is
        by mail, and if no objection is received from any party, the undersigned will issue or apply to
        Clerk of this Court for issuance of the attached subpoena directed to: See attached list, who are
        not parties to this action, to produce the items listed at the time and place specified in said
        subpoena.

                                         CERTIFICATE OF SERVICE

                I HEREBY CERTIFY that a true and accurate copy of the above and foregoing has been
        furnished by e-mail delivery to Jessica A. Orenstein, Attorney for the Plaintiff,
        (jorenstein@forthepeople.com; malsopp@forthepeople.com, Morgan and Morgan PA, 703
        Waterford Way, Suite 1050, Miami, FL, 33126) on this 16th day of April, 2021.

                                                      By: /s/ Jeffrey P. Winkler
                                                          Jeffrey P. Winkler, Esquire
                                                          Banker Lopez Gassler P.A.
                                                          Service: service-jwinkler@bankerlopez.com
                                                          360 Central Ave., Suite 700
                                                          St. Petersburg, Florida 33701
                                                          Phone: (727) 825-3600
                                                          Fax: (727) 821-1968
                                                          FBN: 0358241
                                                          Attorney for the Defendant




                                                                                                        348393
Case 1:21-cv-23024-RNS Document 1-2 Entered on FLSD Docket 08/19/2021 Page 41 of 62




   Jackson North Medical Center
   160 NW 170 Street
   North Miami Beach, L 33169

   Jackson Health System
   1611 NW 12 Avenue
   Miami, Florida

   University of Miami Hospital
   1400 NW 12 Avenue, Suite 2005\
   Miami, FL 33136

   UMH South Professional
   1295 NW 14th Street, Suite K/L
   Miami, FL 33125

   North Shore Medical Center
   1100 NW 95 Street
   Miami, FL 33150
Case 1:21-cv-23024-RNS Document 1-2 Entered on FLSD Docket 08/19/2021 Page 42 of 62




              IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT
                  IN AND FOR MIAMI-DADE COUNTY, STATE OF FLORIDA
                                   CIVIL DIVISION


   KIMBERLY HUDGE,

        Plaintiff,
   v.
                                                        CASE NO.: 21-4697CA-01
   RACETRAC PETROLEUM, INC.,

      Defendant.
   _____________________________________/

                       SUBPOENA DUCES TECUM WITHOUT DEPOSITION

   STATE OF FLORIDA
   Records Custodian
   Jackson North Medical Center
   160 NW 170 Street
   North Miami Beach, L 33169


     YOU ARE COMMANDED TO APPEAR AT THE OFFICES OF BANKER LOPEZ
    GASSLER P.A. 360 CENTRAL AVENUE, SUITE 700, ST. PETERSBURG, FLORIDA,
     ON MAY 17, 2021 AT 10:00 A.M. AND TO HAVE WITH YOU AT THE TIME AND
                            PLACE THE FOLLOWING:

   You may comply with this Subpoena by providing legible copies of the items to be produced to

   the attorney whose name appears on this Subpoena prior to the scheduled date of production.

                     Complete and entire records, including, but not limited to all
                     narrative reports, patient information, office notes, consultation
                     reports, diagnostic studies, correspondence, xray reports, itemized
                     statements of account, incident reports, or any other record of any
                     kind or nature that the above-named has in his or its possession
                     pertaining to the care and treatment of Kimberly Hudge, Date of
                     Birth Social Security No. ***-**-

   These items will be inspected and may be copied at that time. You will not be required to

   surrender the original documents.

   THIS WILL NOT BE A DEPOSITION. NO TESTIMONY WILL BE TAKEN
Case 1:21-cv-23024-RNS Document 1-2 Entered on FLSD Docket 08/19/2021 Page 43 of 62




   You may condition the preparation of the copies upon payment in advance for reasonable costs

   of preparation. You may mail or deliver the copies to the attorney whose name appears on this

   Subpoena and thereby eliminate your appearance at the time and place specified above. You

   have the right to object to the production pursuant to this Subpoena at any time before production

   by giving written notice to the attorney whose name appears on this Subpoena.

   If you fail to (1) appear as specified; or (2) furnish the records instead of appearing as provided

   above; or (3) object to this Subpoena, YOU MAY BE IN CONTEMPT OF COURT. You are

   subpoenaed by the attorney whose name appears on this Subpoena and, unless excused from this

   Subpoena by that attorney or the Court, you shall respond to this Subpoena as directed.

   DATED: APRIL 26, 2021

   I HEREBY CERTIFY that written notice has been provided to the individual whose documents
   are sought, that the notice included sufficient information about the litigation or proceeding to
   permit the individual to raise an objection to the production of the requested documents, and that
   the time to raise an objection has elapsed and no objection was filed.


   BANKER LOPEZ GASSLER P.A.
   360 Central Avenue, Suite 700
   St. Petersburg, FL 33701
   (727) 825-3600
   Fax No: (727) 821-1968

   By:______________________________
   Jeffrey P. Winkler
   Attorney for Defendant
           Florida Bar No: 0358241; SPN 00358146
Case 1:21-cv-23024-RNS Document 1-2 Entered on FLSD Docket 08/19/2021 Page 44 of 62




              IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT
                  IN AND FOR MIAMI-DADE COUNTY, STATE OF FLORIDA
                                   CIVIL DIVISION


   KIMBERLY HUDGE,

        Plaintiff,
   v.
                                                        CASE NO.: 21-4697CA-01
   RACETRAC PETROLEUM, INC.,

      Defendant.
   _____________________________________/

                       SUBPOENA DUCES TECUM WITHOUT DEPOSITION

   STATE OF FLORIDA
   Records Custodian
   University of Miami Hospital
   1400 NW 12 Avenue, Suite 2005\
   Miami, FL 33136


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    GASSLER P.A. 360 CENTRAL AVENUE, SUITE 700, ST. PETERSBURG, FLORIDA,
     ON MAY 17, 2021 AT 10:00 A.M. AND TO HAVE WITH YOU AT THE TIME AND
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                     pertaining to the care and treatment of Kimberly Hudge, Date of
                     Birth Social Security No. ***-**-

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Case 1:21-cv-23024-RNS Document 1-2 Entered on FLSD Docket 08/19/2021 Page 45 of 62




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   BANKER LOPEZ GASSLER P.A.
   360 Central Avenue, Suite 700
   St. Petersburg, FL 33701
   (727) 825-3600
   Fax No: (727) 821-1968

   By:______________________________
   Jeffrey P. Winkler
   Attorney for Defendant
           Florida Bar No: 0358241; SPN 00358146
Case 1:21-cv-23024-RNS Document 1-2 Entered on FLSD Docket 08/19/2021 Page 46 of 62




              IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT
                  IN AND FOR MIAMI-DADE COUNTY, STATE OF FLORIDA
                                   CIVIL DIVISION


   KIMBERLY HUDGE,

        Plaintiff,
   v.
                                                        CASE NO.: 21-4697CA-01
   RACETRAC PETROLEUM, INC.,

      Defendant.
   _____________________________________/

                       SUBPOENA DUCES TECUM WITHOUT DEPOSITION

   STATE OF FLORIDA
   Records Custodian
   Jackson Health System
   1611 NW 12 Avenue
   Miami, Florida


     YOU ARE COMMANDED TO APPEAR AT THE OFFICES OF BANKER LOPEZ
    GASSLER P.A. 360 CENTRAL AVENUE, SUITE 700, ST. PETERSBURG, FLORIDA,
     ON MAY 17, 2021 AT 10:00 A.M. AND TO HAVE WITH YOU AT THE TIME AND
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                     Birth Social Security No. ***-**-

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Case 1:21-cv-23024-RNS Document 1-2 Entered on FLSD Docket 08/19/2021 Page 47 of 62




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   BANKER LOPEZ GASSLER P.A.
   360 Central Avenue, Suite 700
   St. Petersburg, FL 33701
   (727) 825-3600
   Fax No: (727) 821-1968

   By:______________________________
   Jeffrey P. Winkler
   Attorney for Defendant
           Florida Bar No: 0358241; SPN 00358146
Case 1:21-cv-23024-RNS Document 1-2 Entered on FLSD Docket 08/19/2021 Page 48 of 62




              IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT
                  IN AND FOR MIAMI-DADE COUNTY, STATE OF FLORIDA
                                   CIVIL DIVISION


   KIMBERLY HUDGE,

        Plaintiff,
   v.
                                                        CASE NO.: 21-4697CA-01
   RACETRAC PETROLEUM, INC.,

      Defendant.
   _____________________________________/

                       SUBPOENA DUCES TECUM WITHOUT DEPOSITION

   STATE OF FLORIDA
   Records Custodian
   UMH South Professional
   1295 NW 14th Street, Suite K/L
   Miami, FL 33125


     YOU ARE COMMANDED TO APPEAR AT THE OFFICES OF BANKER LOPEZ
    GASSLER P.A. 360 CENTRAL AVENUE, SUITE 700, ST. PETERSBURG, FLORIDA,
     ON MAY 17, 2021 AT 10:00 A.M. AND TO HAVE WITH YOU AT THE TIME AND
                            PLACE THE FOLLOWING:

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                     statements of account, incident reports, or any other record of any
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                     pertaining to the care and treatment of Kimberly Hudge, Date of
                     Birth Social Security No. ***-**-

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Case 1:21-cv-23024-RNS Document 1-2 Entered on FLSD Docket 08/19/2021 Page 49 of 62




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   360 Central Avenue, Suite 700
   St. Petersburg, FL 33701
   (727) 825-3600
   Fax No: (727) 821-1968

   By:______________________________
   Jeffrey P. Winkler
   Attorney for Defendant
           Florida Bar No: 0358241; SPN 00358146
Case 1:21-cv-23024-RNS Document 1-2 Entered on FLSD Docket 08/19/2021 Page 50 of 62




              IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT
                  IN AND FOR MIAMI-DADE COUNTY, STATE OF FLORIDA
                                   CIVIL DIVISION


   KIMBERLY HUDGE,

        Plaintiff,
   v.
                                                        CASE NO.: 21-4697CA-01
   RACETRAC PETROLEUM, INC.,

      Defendant.
   _____________________________________/

                       SUBPOENA DUCES TECUM WITHOUT DEPOSITION

   STATE OF FLORIDA
   Records Custodian
   North Shore Medical Center
   1100 NW 95 Street
   Miami, FL 33150

     YOU ARE COMMANDED TO APPEAR AT THE OFFICES OF BANKER LOPEZ
    GASSLER P.A. 360 CENTRAL AVENUE, SUITE 700, ST. PETERSBURG, FLORIDA,
     ON MAY 17, 2021 AT 10:00 A.M. AND TO HAVE WITH YOU AT THE TIME AND
                            PLACE THE FOLLOWING:

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                     reports, diagnostic studies, correspondence, xray reports, itemized
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                     pertaining to the care and treatment of Kimberly Hudge, Date of
                     Birth Social Security No. ***-**-

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Case 1:21-cv-23024-RNS Document 1-2 Entered on FLSD Docket 08/19/2021 Page 51 of 62




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   I HEREBY CERTIFY that written notice has been provided to the individual whose documents
   are sought, that the notice included sufficient information about the litigation or proceeding to
   permit the individual to raise an objection to the production of the requested documents, and that
   the time to raise an objection has elapsed and no objection was filed.


   BANKER LOPEZ GASSLER P.A.
   360 Central Avenue, Suite 700
   St. Petersburg, FL 33701
   (727) 825-3600
   Fax No: (727) 821-1968

   By:______________________________
   Jeffrey P. Winkler
   Attorney for Defendant
           Florida Bar No: 0358241; SPN 00358146
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                   IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT
                       IN AND FOR MIAMI-DADE COUNTY, STATE OF FLORIDA
                                        CIVIL DIVISION

        KIMBERLY HUDGE,

             Plaintiff,

        v.                                                CASE NO.: 21-4697CA-01

        RACETRAC PETROLEUM, INC.,

           Defendant.
        _____________________________________/

                                        REQUEST FOR ADMISSIONS

                Defendant, RaceTrac Petroleum, Inc., by and through its undersigned attorney, and
        pursuant to Florida Rules of Civil Procedure 1.370, hereby serves this Request For Admission on
        Plaintiff, Kimberly Hudge, and requests she admit or deny the following Request within 30 days:

                 1. Admit that the amount in controversy in this case does not exceed $75,000.00 and if
                    denied, then please list medical expenses, lost wages/earning capacity, and non-
                    economic damages which support your contention that the amount in controversy
                    exceeds $75,000.00.

                                         CERTIFICATE OF SERVICE

                I HEREBY CERTIFY that a true and accurate copy of the above and foregoing has been
        furnished by e-mail delivery to Jessica A. Orenstein, Attorney for the Plaintiff,
        (jorenstein@forthepeople.com; malsopp@forthepeople.com, Morgan and Morgan PA, 703
        Waterford Way, Suite 1050, Miami, FL, 33126) on this 16th day of April, 2021.

                                                    By: /s/ Jeffrey P. Winkler
                                                        Jeffrey P. Winkler, Esquire
                                                        Banker Lopez Gassler P.A.
                                                        Service: service-jwinkler@bankerlopez.com
                                                        360 Central Ave., Suite 700
                                                        St. Petersburg, Florida 33701
                                                        Phone: (727) 825-3600
                                                        Fax: (727) 821-1968
                                                        FBN: 0358241
                                                        Attorney for the Defendant




                                                                                                    348393
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